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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                     )
DJB HOLDINGS LLC,                                    )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )     Civil Action No. 17-613
                                                     )
DARWIN NATIONAL ASSURANCE                            )
COMPANY,                                             )
                                                     )
                              Defendant.             )
                                                     )


                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1446(a), defendant Darwin National Assurance Company (now

known as Allied World Specialty Assurance Company) (“Allied World”) files this Notice to

remove the above-captioned case to this Court and, in support of removal, respectfully states as

follows:

       1.      Allied World is the sole defendant in a civil action brought by plaintiff DJB

Holdings LLC (“DJB”) on or about March 7, 2017 in the Superior Court of the District of

Columbia, styled DJB Holdings LLC v. Darwin National Assurance Company, Case No. 2017

CA 001510 B (D.C. Super. Ct.).

       2.      Counsel for Allied World received a courtesy copy of the Complaint in this action

from counsel for DJB on March 15, 2017. On March 21, 2017, Allied World agreed to accept

service of the Summons and Complaint, in exchange for DJB’s agreement that Allied World

could answer or otherwise respond to the Complaint on or before May 15, 2017. On March 30,

2017, the undersigned signed an Acknowledgment of Receipt of Summons, Complaint and

Initial Order pursuant to D.C. Superior Court Rule 4(c)(4). This Notice of Removal is therefore
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filed within thirty (30) days of service of the Complaint on Allied World and is timely filed

under 27 U.S.C. § 1446(b).

       3.       Copies of the Complaint, the Summons, the Information Sheet, the Initial Order

and Addendum, and the Notice and Acknowledgment of Receipt of Summons, Complaint and

Initial Order, being all of the papers served upon Allied World in this action, are attached hereto

as Exhibit A.

       4.       This is a civil action over which the District Courts of the United States have

original jurisdiction pursuant to 28 U.S.C. § 1332, because the parties are citizens of different

states and the amount in controversy exceeds $75,000, exclusive of interests and costs, in light of

the damages sought by DJB.

       5.       DJB, the sole plaintiff in this action, is a limited liability company which has as

its sole member Dawn J. Bennett. Ms. Bennett is, and was at the time this action was

commenced, an American citizen residing and domiciled in (and therefore a citizen of) the state

of Maryland. Accordingly, for purposes of determining diversity of citizenship, DJB is and was

at the time this action was commenced a citizen of the state of Maryland. See CostCommand,

LLC v. WH Administrators, Inc., 820 F.3d 19, 21 (D.C. Cir. 2016).

       6.       Defendant Allied World is an insurance company organized and incorporated

under the laws of the state of Delaware, and has its principal place of business now and at the

time this action was commenced in New York, New York. Therefore, Allied World is a citizen

of the states of Delaware and New York.

       7.       In the Complaint, DJB seeks insurance coverage under a policy issued by Allied

World for loss allegedly incurred by it in connection with claims by federal government

agencies. The amounts that it seeks from Allied World include amounts allegedly due under the




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policy, which has a limit of $1,000,000. DJB alleges that it has incurred loss that exhausts the

$1,000,000 policy limit, and has damages that exceed $1,000,000. Thus, the damages at issue in

this action exceed $75,000 exclusive of interest and costs.

       8.       Removal of this action is therefore proper under 28 U.S.C. § 1441, since it is a

civil action brought in a state court, and the district courts of the United States have original

jurisdiction over the subject matter under 28 U.S.C. § 1332 because the plaintiff and defendant

are diverse in citizenship and the amount in controversy exceeds $75,000, exclusive of interest

and costs.

       WHEREFORE, Allied World, the only defendant in this action, pursuant to 28 U.S.C.

§ 1441 and in conformance with the requirements set forth in 28 U.S.C. § 1446(b) and the Rules

of the United States District Court for the District of Columbia, removes this action for trial from

the Superior Court of the District of Columbia, on this 6th day of April, 2017.

Dated: April 6, 2017                           Respectfully submitted,



                                                       /s/ Jonathan A. Constine
                                               Jonathan A. Constine (D.C. Bar # 416887)
                                               Richard Ambrow (D.C. Bar # 1002831)
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                                               Attorneys for Defendant
                                               Darwin National Assurance Company




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing Notice of Removal of Action was

furnished on April 6, 2017 by U.S. Mail, first class postage prepaid, to the following attorney:

                              Richard D. Milone
                              JONES DAY
                              51 Louisiana Avenue, N.W.
                              Washington, D.C. 20001

                              Attorney for Plaintiff DJB Holdings LLC




                                                            /s/Jonathan A. Constine
                                                     Jonathan A. Constine
